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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                             WESTERN DIVISION AT CINCINNATI

Philip R. McHugh,

        Plaintiff,                                      Case No. 1:21-cv-00238

                v.                                      Judge Michael R. Barrett

Fifth Third Bancorp., et al.,

        Defendants.
                                               ORDER 1

        This matter is before the Court on Plaintiff’s Motion to Compel Production of

Documents Subpoenaed from Non-Party RHR International, LTD 2 (Doc. 40), RHR’s

response in opposition (Doc. 59), and Plaintiff’s reply (Doc. 61). Also before the Court is

RHR’s Motion for Leave to File a Sur-Reply (to Plaintiff’s reply (Doc. 61)) (Docs. 62, 63),

Plaintiff’s response in opposition (Doc. 64), and RHR’s reply (Doc. 65).

        Background.        Plaintiff served RHR (in Chicago, Illinois) with two subpoenas

issued from the Southern District of Ohio. See Fed. R. Civ. P. 45(a)(2) (“A subpoena

must issue from the court where the action is pending.”). The first, served on April 1,

2022, seeks 15 categories of documents that “relate[ ] to executive assessments

performed on [Timothy] Spence, [Philip] McHugh, and any other candidates for the


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  Plaintiff Philip R. McHugh has sued Defendants Fifth Third Bancorp, Fifth Third Bank, N.A., and
Gregory D. Carmichael (collectively, “Defendants”) for violations of the Age Discrimination in Employment
Act, 29 U.S.C. § 621 et seq., as well as Ohio Rev. Code § 4112. (Doc. 9). His six-count Amended
Complaint includes federal and state law claims for failure to promote, wrongful termination, and
retaliation. (Id. ¶¶ 39–67). Defendants have filed a counterclaim (Doc. 10 PAGEID 1809–16) for abuse
of process under state common law (id. ¶¶ 31–41).
2
  RHR “is a consulting firm composed of behavioral scientists and practitioners. RHR applies behavioral
science to organizations to make those organizations, and the individuals who work there, more effective.
In 2020, Fifth Third Bank engaged RHR to assess Timothy Spence for the role of President and Chief
Executive Officer. RHR did not assess any other candidate, including McHugh. After completing its
assessment of Spence, RHR reported its findings to the Board of Directors of Fifth Third Bank.” (Doc. 59
PAGEID 2517).


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position of President or CEO of Fifth Third [Bank] between January 1, 2016 to the

present.” (Doc. 40 PAGEID 2367). The second, served on April 21, 2023 and after initial

director and bank employee depositions, seeks additional documents “specific to RHR’s

executive assessment work relating to Fifth Third[.]” (Id. PAGEID 2368). Both subpoenas

command that the documents be produced by either mail or email to Plaintiff’s counsel in

Cincinnati, Ohio.

          Law & Analysis. Plaintiff maintains that the documents subpoenaed from RHR

regarding its assessment of Timothy Spence at Fifth Third’s request are “clearly relevant”

to the litigation. Plaintiff further maintains that RHR’s “blanket objections” are meritless.

          Rule 45 governs non-party subpoenas. Two questions are presented here: one

concerning RHR’s place of production and, the other, RHR’s place of compliance.

          “A subpoena may command[            ] production of documents, electronically stored

information, or tangible things at a place within 100 miles of where the person resides,

is employed, or regularly transacts business in person[.]” Fed. R. Civ. P. 45(c)(2)(A)

(emphasis added). Plaintiff does not dispute that RHR’s headquarters, along with the

keeper of its records, are in Chicago, which is more than 100 miles from Cincinnati.

Plaintiff argues, however, that the 100-mile limit doesn’t apply when the subpoenas seek

electronic production of documents, such that no personal appearance is required. See

Atlas Indus. Contractors LLC v. In2Gro Tech. LLC, No. 2:19-cv-1815718, 2020 WL 1815718,

at *2 (S.D. Ohio Apr. 10, 2020); see also Pictsweet Co. v. R.D. Offutt Co., No. 3:19-cv-0722,

2020 WL 12968432, at *4 (M.D. Tenn. Apr. 23, 2020) (citing United States v. Brown, 223 F.

Supp. 3d 697, 703 (N.D. Ohio 2016)).              Because RHR can either mail or email the

documents subpoenaed from its headquarters, its place of production is Chicago.

          RHR disagrees with this construction. 3 RHR also points out that Plaintiff’s motion

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    See Fed. R. Civ. P. 45(d)(2)(B) (A person commanded to produce documents “may serve on the party

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to compel was not filed in the correct district. See Fed. R. Civ. P. 45(d)(2)(B)(i) (Once an

objection is made, “the serving party may move the court for the district where

compliance is required for an order compelling production[.]”) (emphasis added).

According to RHR, the district “where compliance is required” is Chicago, which is located

within the Northern District of Illinois, Eastern Division. Plaintiff, on the other hand,

contends that the place of compliance is Cincinnati, as noted on the face of the

subpoenas.

        “Under the federal rules, as amended in 2013, a subpoena must be issued by the

court where the underlying action is pending, but challenges to the subpoena are to be

heard by the district court encompassing the place where compliance with the

subpoena is required.” Europlay Capital Advisory, LLC v. Does, 323 F.R.D. 628, 629

(C.D. Calif. 2018) (cleaned up) (emphasis added); see Thacker v. Ethicon, Inc., 572 F.

Supp. 3d 319, 322 (E.D. Ky. 2021) (citing Europlay); Whiteamire Clinic, P.A. Inc. v.

Cartridge World N. Am., LLC, No. 1:16CV226, 2021 WL 9124591, at *2 (N.D. Ohio Oct.

27, 2021). 4

        “The meaning of the phrase ‘the court for the district where compliance is required’

is ambiguous and has been interpreted differently.” Henry Schein, Inc. v. Drea, No. 4:21-


or attorney designated in the subpoena a written objection[.]”).
4
  In Atlas Indus., Magistrate Judge Vascura, seated in the Southern District of Ohio, Eastern Division,
highlights this requirement:

        Neither the parties nor [non-party] Plugout raise the related issue of the
        proper forum for this motion seeking compliance with a subpoena. Federal
        Rule of Civil Procedure 45(d)(2)(B)(i) states that such a motion should be filed with
        “the court for the district where compliance is required.” Because Plugout’s
        compliance would occur in New Jersey [at its primary place of business], Rule 45
        directs that I2G should have filed its motion with the United States District Court
        for the District of New Jersey. However, as this issue was not raised in any of the
        briefing, the undersigned proceeds to consider I2G’s motion.

2020 WL 1815718, at *2 n.3 (citation omitted) (emphasis added). Although dicta in that case, non-party
RHR obviously has raised the “related” issue here.

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cv-00192-RGE-HCA, 2022 WL 18584628, at *2–3 (S.D. Iowa May 31, 2022) (quoting

Merch. Consulting Grp., Inc. v. Beckpat, LLC, No. CV 17-11405-PBS, 2018 WL 4510269,

at *2 (D. Mass. July 11, 2018)). “[Some] courts look to the face of the subpoena to see

where compliance is required. Other courts reason that because Rule 45 notes that the

place of compliance must be ‘within 100 miles of where the person resides, is employed,

or regularly transacts business in person’, they have concluded that the place of

compliance is located where the subpoenaed party lives or works.” Id. (citations omitted).

The parties have cited no Sixth Circuit authority on this issue and the Court’s research

has found none.

      Having considered both views, the undersigned finds the “better approach” is to tie

the place of compliance to the location of the subpoenaed entity. See Raap v. Brier &

Thorn, Inc., No. 17-MC-3001, 2017 WL 2462823, at *3 (C.D. Ill. July 7, 2017) (one

purpose behind Rule 45 was to protect nonparties from having to adjudicate a dispute

over a subpoena in a distant forum) (citing Fed. R. Civ. P. 45, Advisory Committee Notes,

2013 Amendment (pertaining to Subdivision (f)); HI.Q, Inc. v. ZeetoGroup, LLC, No.

22cv1440-LL-MDD. 2022 WL 17345784, at *7–8 (S.D. Calif. Nov. 29, 2022) (citing Raap

& collecting other cases); Ortiz v. Harrell, No. 21-14219-CIV, 2022 WL 457856, at 3–4

(S.D. Fla. Feb. 14, 2022) (“For non-party corporations, courts find that ‘the place of

compliance’ is where a corporation is headquartered.”); Dou v. Carillon Tower/Chicago

LP, No. 18 CV 7865, 2020 WL 5502345, at *1–2 (N.D. Ill. Sept. 11, 2020 (citing Raap, “In

2013 Rule 45 was amended, in part to protect subpoena recipients. . . . To require . . .

non-parties to litigate disputes in a distant forum[ ] would defeat the amended rule’s

protective purpose.”). As one district court has recently—and thoughtfully—explained:

      In the decade since the current rules were enacted, a recurring
      scenario has arisen that has befuddled attorneys and split courts:
      determining the place of compliance for filing a motion to quash a

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    subpoena that on its face requires production of documents in a
    location (in this case, Nevada) that the subpoenaed nonparty argues
    is improper because the nonparty is located elsewhere (in this case,
    New Hampshire). Some courts have interpreted the place “where
    compliance is required” for purposes of filing a motion to quash to
    mean the location identified on the disputed subpoena for the
    document production, regardless of whether that place is not the
    location of the subpoenaed nonparty. See, e.g., Pizana v. Basic
    Research, LLC, No. 1:18-cv-00644-DAD-SKO, 2022 WL 1693317,
    at *2 (E.D. Cal. May 26, 2022) (collecting cases). These courts have
    reasoned that such a rule provides an easy answer to the issue and
    eliminates the need for intensive fact-finding as to this threshold
    issue, and that the place of compliance is technically the location
    identified on the subpoena unless and until the court determines
    otherwise. See, e.g., CSS, Inc. v. Herrington, 354 F. Supp. 3d 702,
    710 (N.D. Tex. 2017).

    Other courts have interpreted the place “where compliance is
    required” for a motion to quash a subpoena for the production of
    documents to mean the location of the subpoenaed nonparty,
    even if different than the location for the production of
    documents identified on the face of the subpoena. See HI.Q, Inc.
    v. ZeetoGroup, LLC, No. 22cv1440-LL-MDD, 2022 WL 17345784, at
    *7 (S.D. Cal. Nov. 29, 2022) (collecting cases); see also Europlay
    Capital Advisors, 323 F.R.D. at 629. These courts have reasoned
    that such an approach is consistent with the overall framework
    of the rule, which is designed to ensure local resolution of
    subpoena disputes as a means to protect the subpoenaed
    nonparty, a purpose that would be thwarted by requiring
    subpoenaed nonparties to adjudicate a subpoena-related
    dispute in a distant forum based solely on the face of the
    subpoena. See, e.g., Raap v. Brier & Thorn, Inc, No. 17-MC-3001,
    2017 WL 2462823, at *3 (C.D. Ill. July 7, 2017). This Court has
    already ruled elsewhere that the place of compliance for purposes of
    filing a motion to quash a subpoena must be tethered to the location
    of the subpoenaed person. See 4R4 Sons[, LLC v. Tru G. Wilhelm,
    Inc., No. 2:21-cv-01081-GMN-NJK], 2022 WL 2905468, at *4
    [D. Nev. July 22, 2022]; Agincourt Gaming, LLC v. Zynga, Inc., No.
    2:14-cv-0708-RFB-NJK, 2014 WL 4079555, at *4 (D. Nev. Aug. 15,
    2014); see also Lavoie v. Hyundai Motor Am., No. 2:22-cv-00628-
    GMN-VCF, 2022 WL 10632400, at *1–2 (D. Nev. Oct. 18, 2022)
    ;GBT Techs., Inc. v. Jackson, No. 2:20-cv-02078-APG-VCF, 2021
    WL 2418555, at *2 (D. Nev. June 14, 2021). The Court will continue
    to take that approach here.




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      Under the heading “Place of Compliance,” Rule 45(c) requires that
      document production via subpoena must occur within 100 miles of
      the location of the subpoenaed nonparty. See Fed. R. Civ. P.
      45(c)(2)(a); see also In re Outlaw Labs, LP Litig., No. 18cv840 GPC,
      2020 WL 5709386, at *2 S.D. Cal. Sept. 24, 2020 (“Rule 45(c)(2)(A)
      defines where compliance is required for production of documents or
      electronically stored information” (emphasis added)). The drafters of
      the current version of Rule 45 plainly intended this provision to not
      just be a basis to quash a non-compliant subpoena, but to also serve
      as the touchstone for determining which court should decide that
      motion to quash:

             To protect local nonparties, local resolution of disputes
             about subpoenas is assured by the limitations of Rule
             45(c) [requiring that the place of compliance be
             tethered to the location of the subpoenaed nonparty]
             and the requirements in Rules 45(d) and (e) that
             motions be made in the court in which compliance is
             required under Rule 45(c).

      Fed. R. Civ. P. 45(f), Advisory Committee Notes (2013) (emphasis
      added). Hence, the intent could not be clearer that the location
      of the subpoenaed nonparty, as identified in Rule 45(c), is meant
      to control which district is the place of compliance for the
      purpose of filing a motion to quash under Rule 45(d). While advisory
      committee notes are not necessarily the final answer in interpreting
      the text of the rules, they are an important tool in doing so. See
      Torres v. Oakland Scavenger Co., 487 U.S. 312, 316, 108 S.Ct.
      2405, 101 L.Ed.2d 285 (1988) (while views expressed by the
      advisory committee are “not determinative” of a rule's meaning, they
      are “of weight” in the judicial construction of the text of the rule); see
      also United States v. Vonn, 535 U.S. 55, 64 n.6, 122 S.Ct. 1043, 152
      L.Ed.2d 90 (2002) (explaining that the Advisory Committee Notes
      can “provide a reliable source of insight into the meaning of a rule”).
      With respect to the place for resolving subpoena-related
      disputes, it would eviscerate the entire purpose of these
      provisions in Rule 45 to interpret them as meaning that a
      subpoenaing party may force a subpoenaed nonparty to litigate
      a subpoena-related dispute in an inconvenient district by
      simply listing that location on the face of the subpoena. Raap,
      2017 WL 2462823, at *3.

York Holding, Ltd. v. Waid, 345 F.R.D. 626, 628–629 (D. Nev. 2024) (footnotes omitted)

(emphasis added).     True, York Holding involved a motion to quash filed by the

subpoenaed party (under Rule 45(d)(3)(A)) versus the circumstance here, where the

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subpoenaing party has filed a motion to compel (under Rule 45(d)(2)(B)(i)). No matter,

because the phrase “the district where compliance is required” appears (identically) in

both subsections.

        In sum, the Court determines that the place of compliance—for the purpose of filing

a motion to compel a non-party to produce documents—is the place where that non-party

is located. In this case, that place is Chicago, Illinois, not Cincinnati, Ohio. Accordingly,

this Court lacks authority to rule on the merits of Plaintiff’s motion. 5

        Conclusion. Plaintiff’s Motion to Compel Production of Documents Subpoenaed

from RHR International, LTD. (Doc. 40) is DENIED WITHOUT PREJUDICE. In turn,

RHR’s Motion for Leave to File a Sur-Reply in Response to Plaintiff’s Reply in Support of

his Motion to Compel (Doc. 62) is DENIED AS MOOT.

        IT IS SO ORDERED.

                                                                  /s/ Michael R. Barrett
                                                                  JUDGE MICHAEL R. BARRETT




5
  This Court rejects labeling the “place of compliance” analysis as a jurisdictional question “because that
issue focuses on a forum state’s power and notice to a potential witness, whereas Rule 45 focuses on the
burden to nonparties.” HI.Q, 2022 WL 17345784, at *7. See Fed. R. Civ. P. 82 (“The[ federal] rules do
not extend or limit the jurisdiction of the district courts or the venue of actions in those courts.”).

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